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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION
LEAGUE OF UNITED LATIN AMERICAN        §
 CITIZENS, et al.,                     §
                                       §
 Plaintiffs,                           §
                                       §
                                                  Case No. 3:21-cv-00259
V.                                     §
                                                       [Lead Case]
                                       §
GREG ABBOTT, et al.,                   §
                                       §
 Defendants.                           §
                                       §

UNITED STATES OF AMERICA,              §
                                       §
 Plaintiff,                            §
                                       §
V.                                     §          Case No. 3:21-cv-00299
                                       §           [Consolidated Case]
STATE OF TEXAS, et al.,                §
                                       §
 Defendants.                           §
                                       §

 LEGISLATORS’ MOTION TO QUASH OR MODIFY DEPOSITION SUBPOENAS
               AND MOTION FOR PROTECTIVE ORDER
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                                            INTRODUCTION

        The United States wants three sitting legislators to be its very first deponents. But legislators

engaged “in the sphere of legitimate legislative activity” are protected “not only from the consequences

of litigation’s results but also from the burden of defending themselves.” Dombrowski v. Eastland, 387

U.S. 82, 85 (1967) (quoting Tenney v. Brandhove, 341 U.S. 367, 376 (1951)). It is “not consonant with

our scheme of government for a court to inquire into the motives of legislators.” Tenney, 341 U.S. at

377. Redistricting cases are no exception. At the very least, the subpoenas to depose the legislators

should be modified or a protective order entered that limits or stays the depositions. The United

States’ extraordinary discovery request also presents the opportunity for the Court to consider whether

the subpoenas ought to be quashed altogether.

                                             BACKGROUND

        In December 2021, the U.S. Department of Justice sued to invalidate Texas’s newly enacted

state house and congressional redistricting plans. Its only claim is that the redistricting legislation vio-

lates Section 2 of the Voting Rights Act. See Compl. ¶¶161-67, United States v. Texas, No. 3:21-cv-299,

ECF 1. The United States is pursuing extensive third-party discovery, issuing more than 25 third-party

subpoenas to legislators, staff members, other officials, and the Texas Legislative Council for all re-

districting-related documents. See generally Ex. A. to Mot. to Quash TLC Subpoena, LULAC v. Abbott,

No. 3:21-cv-259, ECF 219-1.

        The United States now wishes to depose three sitting legislators “on topics pertinent to the

Voting Rights Act enforcement action [it] ha[s] brought against the 2021 Texas House Plan.” See Ex.

A at 7 (4/28/2022 email from D. Freeman); see also Ex. B (Rep. Guillen deposition subpoena); Ex. C

(Rep. Landgraf deposition subpoena); Ex. D (Rep. Lujan deposition subpoena). The complaint alleges

the house redistricting legislation “results in a denial or abridgment” of voting rights “on account of




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race….” Compl. ¶166 (quoting 52 U.S.C. §10301(a)). The complaint specifically challenges the follow-

ing house districts:

        •   House District 118: The United States alleges that the San Antonio-area district “elimi-
            nates Latino voters’ opportunity to elect representatives of their choice,” while averring
            that the Hispanic Citizen Voting Age Population (CVAP) of the district is between 56.4
            and 57.5 percent. Compl. ¶¶104, 111. The United States complains that the district elected
            a Latino Republican in 2016 and 2021 special elections—Representative John Lujan—and
            he is “not the Latino candidate of choice.” Id. ¶108. Representative Lujan is one of the
            three legislators whom the United States now wishes to depose. See Ex. D (subpoena).

        •   House District 31: The United States alleges the South Texas district “reduces Latino
            population share,” while averring that the Hispanic CVAP of the district is between 64.5
            and 66.6 percent. Compl. ¶¶117, 123. The complaint states that Latino voters have
            “reelected their preferred candidate by a comfortable margin” but complains that he has
            now “switched parties.” Id. ¶¶117, 120. That incumbent is Representative Ryan Guillen,
            whom the United States now wishes to depose. See Ex. B (subpoena).

        •   El Paso and West Texas House Districts: The United States alleges that the 2021 re-
            districting legislation removed a Latino opportunity district from El Paso County (existing
            District 76), and overpopulated other El Paso-area districts (deviating from ideal by
            roughly 4.25 percent). Compl. ¶¶131, 139.

The complaint does not allege that invidious discriminatory intent motivated the house redistricting

legislation; the complaint is based on effects alone. Compare Compl. ¶166 (house districts), with id.

¶¶164-65 (alleging impermissible legislative “purpose” and effect of congressional districts); Opp’n to

Mot. to Quash TLC Subpoena, ECF 227 at 11-12 (distinguishing congressional districts claims).

        Texas moved to dismiss the United States’ complaint and later moved to stay this litigation

pending the Supreme Court’s decision in Merrill v. Milligan, No. 21-1086, and Merrill v. Caster, No. 21-

1086. See ECF 111; ECF 241. The motion to dismiss, arguing that the complaint fails to state a Section

2 claim, is pending. The motion to stay, explaining that the Supreme Court will be considering anew

what Section 2 requires of States in redistricting (and what the Equal Protection Clause prohibits),1

has been denied. ECF 246.


1
    See Merrill v. Milligan, 142 S. Ct. 879, 881 (2022) (Kavanaugh, J., concurring in grant of stay);
    Merits Br. of Secretary Merrill, Merrill v. Milligan, No. 21-1086, bit.ly/39nC1Iy.


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        The United States now intends to subpoena Texas House Representatives Ryan Guillen,

Brooks Landgraf, and John Lujan for depositions later this month—the first depositions that the

United States seeks in this case. See Ex. B (noticing 5/19/2022 deposition for Rep. Guillen); Ex. C

(noticing 5/24/2022 deposition for Rep. Landgraf); Ex. D (noticing 5/25/2022 deposition for Rep.

Lujan). The legislators are not named defendants in any complaint, nor have they intervened. Their

only connection to the litigation is as house members; two were in office when the State enacted the

house redistricting legislation, while the third (Rep. Lujan) was not sworn into office until after the bill

passed. The United States has already subpoenaed all redistricting-related documents from each of

these representatives and two dozen other third parties. In response, subpoena recipients have pro-

duced non-privileged documents and invoked applicable privileges for others.

        Counsel have met and conferred. The United States asserted that depositions could “encom-

pass numerous matters over which”—according to counsel—“any common law state legislative priv-

ilege applicable in federal courts does not apply.” Ex. A at 7 (4/28/2022 email from D. Freeman).

Counsel later elaborated that it was entitled to depose the legislators about the Gingles standard,2 in-

cluding discussion of “population patterns, political behavior, the history of discrimination, socioeco-

nomic disparities, campaign tactics, and other matters.” See Ex. A at 1 (5/3/2022 email from D. Free-

man). The legislators’ counsel explained that there were alternative, less intrusive means for the United

States to obtain whatever non-privileged, relevant material it believes it could obtain from deposing

legislators. Ex. A at 8 (4/27/2022 email from P. Sweeten). In response, counsel for the United States

said it was not open to alternatives at this time. See Ex. A at 2 (5/2/2022 email from W. Thompson).


2
    See Thornburg v. Gingles, 478 U.S. 30, 44-45 (1986) (discussing factors from 1982 Senate Report that
    “typically may be relevant to a §2 claim,” though “neither comprehensive nor exclusive,” including
    “history of voting-related discrimination,” “racially polarized” voting, “exclusion of members of
    the minority group from candidate slating processes,” or “the extent to which minority group mem-
    bers bear the effects of past discrimination in areas such as education, employment, and health,
    which hinder their ability to participate effectively in the political process,” among others).


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                                                ARGUMENT

        Legislative privilege and immunity safeguard the legislative process. They are safeguards older

than the country itself. See United States v. Johnson, 383 U.S. 169, 178-82 (1966) (discussing history of

English analog and importance of legislator independence). At the founding, legislative privilege and

immunity were “deemed so essential” that these safeguards were “written into the Articles of Confed-

eration and later into the Constitution.” Tenney, 341 U.S. at 372. Still today, they protect legislators

from inquiries about what motivated or informed their legislative acts, based on the elementary prin-

ciple that it is “not consonant with our scheme of government for a court to inquire into the motives

of legislators.” Id. at 377; see, e.g., Biblia Abierta v. Banks, 129 F.3d 899, 905 (7th Cir. 1997) (“An inquiry

into a legislator’s motives for his actions, regardless of whether those reasons are proper or improper,

is not an appropriate consideration for the court.”); Lee v. City of Los Angeles, 908 F.3d 1175, 1187-88

(9th Cir. 2018) (rejecting redistricting “Plaintiffs[’] call for a categorical exception whenever a consti-

tutional claim directly implicates the government’s intent,” which “would render the privilege ‘of little

value’” (quoting Tenney, 341 U.S. at 377)); In re Hubbard, 803 F.3d 1298, 1307-08, 1315 (11th Cir. 2015)

(quashing subpoenas for legislators’ documents); Reeder v. Madigan, 780 F.3d 799, 804 (7th Cir. 2015)

(raising concerns that it would be “nearly impossible for a legislature to function” without privilege).

        These protections are already well-known to this Court. Consistent with centuries of prece-

dent, at the preliminary injunction stage, this Court already ruled that a legislator could testify about

that “within the public record,” but anything beyond the public record would require a waiver of

legislative privilege. PI Tr. 152:1-5 (Vol. 5) (“Senator Huffman will be allowed to testify to everything

within the public record; and if she goes outside the public record, she will waive her privilege.”); accord

Tenney, 341 U.S. at 373-77; Dombrowski, 387 U.S. at 85; see also Dep’t of Commerce v. New York, 139 S. Ct.

2551, 2573-74 (2019) (refusing to permit extra-record discovery, including deposition, of Commerce

Secretary after staying order compelling deposition, In re Dep’t of Commerce, 139 S. Ct. 16 (2018)); In re



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Stone, 986 F.2d 898, 904 (5th Cir. 1993) (explaining that officials “could never do their jobs” if subject

to such discovery because they would be less willing to explore all options before them, lest they “be

subpoenaed for every case involving their agency”). The Court prohibited plaintiffs from questioning

the testifying senator about her mental impressions or opinions regarding legislation, or what other-

wise motivated or informed her or others during the legislative process. See, e.g., PI Tr. 152:2-7 (Vol.

6); PI Tr. 25:6-10 (Vol. 7); PI Tr. 29:6-20 (Vol. 7).

        Applying those protections again here, movants request that this Court quash or modify the

subpoenas to depose sitting legislators. And should any depositions proceed, movants request that

this Court enter a protective order prohibiting the United States from deposing legislators about priv-

ileged matters, including matters beyond the public record. Relatedly, movants request an administra-

tive stay to postpone the depositions until this Court resolves this motion.

I.      At the very least, an order modifying the subpoenas or a protective order is warranted.

        There is good reason to quash the subpoenas altogether, infra Part II. The United States has

not been able to articulate any relevant, non-privileged information that it expects to obtain from the

legislators’ depositions that could warrant such intrusive and comity-frustrating discovery. Whatever

“numerous matters” the United States envisions it could explore by deposing legislators, those matters

are either privileged or discoverable through less intrusive means. At the very least, and in light of the

obvious legislative immunity and privilege concerns raised by such depositions, the legislators request

that the subpoenas be modified or a protective order issued as follows.

        A. The legislators request that the Court require the United States to first exhaust less intrusive

means to discover whatever it is that the United States hopes to discover regarding the house redis-

tricting legislation before resorting to “extraordinary” depositions of legislators. Vill. of Arlington

Heights v. MHDC, 429 U.S. 252, 268 & n.18 (1977). An extensive public record regarding the house




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redistricting legislation and the resulting boundaries are readily available to all parties.3 At this stage of

the proceedings, it is implausible that it is necessary to depose Representatives Guillen, Landgraf, and

Lujan (and presumably others to come) to answer questions to confirm that the public record says

what the public record says.

        Exhausting alternative means of discovery is especially warranted in light of counsel’s stated

purpose for the legislators’ depositions. Counsel intends to depose the legislators regarding the house

redistricting legislation. See Ex. A at 7 (4/28/2022 email from D. Freeman). The United States’ allega-

tions regarding that legislation are focused on effects (or “results” alone); the United States does not

allege that the legislation was imbued with improper purpose. See Compl. ¶166; Ex. A at 4 (5/2/2022

email from D. Freeman) (describing “results claims”); ECF 227 at 10-11 (distinguishing intent-based

claims for congressional districts). As pled, the legality of those districts will be largely left to expert

opinion about their so-called “effects,” to the extent relevant under the Voting Rights Act. There is

no utility at this stage of the proceedings to depose sitting legislators about such results-based claims.

See, e.g., Am. Trucking Ass’n, Inc. v. Alvitti, 14 F.4th 76, 88-90 (1st Cir. 2021) (quashing subpoenas to

depose state lawmakers because Dormant Commerce Clause claim was predominantly focused on

effect of state law, not purpose). The United States has not and likely cannot articulate why already-




3
    See, e.g., TX HB1, Texas Legislature Online, capitol.texas.gov/BillLookup/His-
    tory.aspx?LegSess=873&Bill=HB1 (containing bill history for passage of Texas house districts, in-
    cluding committee report and relevant house journal excerpts); “Texas Redistricting,” redistrict-
    ing.capitol.texas.gov/ (landing page for redistricting materials, including redistricting process and
    recordings of and notices for all redistricting hearings); “DistrictViewer,” dvr.capitol.texas.gov/
    (containing more than 100 plans for house and congressional districts, publicly introduced or sub-
    mitted by legislators or members of the public throughout the legislative process); “Capitol Data
    Portal,” data.capitol.texas.gov/ (containing redistricting datasets, including datasets for enacted
    plans and proposed alternatives); Texas House Journal, journals.house.texas.gov/hjrnl/home.htm
    (record of events occurring in the Texas House); Texas House Redistricting Committee,
    house.texas.gov/committees/committee/?committee=C080 (committee webpage containing var-
    ious public materials).


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issued document subpoenas, an extensive public record, and forthcoming expert discovery are insuf-

ficient for such claims.

        Deposing a legislator would be “extraordinary” in any case and ordinarily barred by legislative

privilege. Arlington Heights, 429 U.S. at 268 & n.18. It is all the more extraordinary for the United States

to demand the depositions of three legislators as its opening foray here. To the extent plaintiffs deem

it necessary to further discuss that which is in the public record or to seek other non-privileged infor-

mation, the United States can do so in ways far less intrusive than deposing a legislator. See, e.g., In re

Perry, 60 S.W.3d 857, 861-62 (Tex. 2001) (relying on Arlington Heights for admonition that “all other

available evidentiary sources must first be exhausted before extraordinary circumstances will be con-

sidered”); Austin Lifecare, Inc. v. City of Austin, 2012 WL 12850268 (W.D. Tex. Mar. 20, 2012) (quashing

deposition notices based, in part, on finding that “Plaintiffs have alternative methods for discovering

the information they seek,” including the public record); Harding v. Dallas, 2016 WL 7426127, at *8-9

(N.D. Tex. Dec. 23, 2016) (finding no extraordinary circumstances warranted deposing county redis-

tricting commissioners); see also In re F.D.I.C., 58 F.3d 1055, 1060 (5th Cir. 1995) (“exceptional circum-

stances must exist before the involuntary depositions of high agency officials” (quotation marks omit-

ted)). At this stage, the burdens of deposing legislators well outweigh any conceivable benefit to be

gained by questions regarding the already-public record, the Gingles standard, or whatever other un-

enumerated non-privileged matters the United States intends to cover in a deposition.

        B. The legislators further request that any legislative depositions be stayed until the Court

decides Defendants’ pending motion to dismiss the United States’ complaint, which could affect the

permissible scope of any depositions. Cf. Hubbard, 803 F.3d at 1304 (holding motions to quash in

abeyance until motion to dismiss decided); see also Bickford v. Boerne Indep. Sch. Dist., 2016 WL 1430063,

at *1 (W.D. Tex. Apr. 8, 2016) (staying discovery pending the disposition of the motion to dismiss

under the trial court’s “broad discretion and inherent power to stay discovery until preliminary



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question that may dispose of the case are determined”). The motion argues that that the United States

has failed to state any Voting Rights Act claim regarding the house redistricting legislation, ECF 111

at 18-24—the intended topic of discussion at depositions, Ex. A at 4, 7 (4/28/2022 and 5/2/2022

emails from D. Freeman). If granted in whole or in part, the United States’ asserted basis for deposing

the legislators disappears in whole or in part.

         C. Relatedly, especially in light of counsel’s assertion that depositions are warranted to ask

legislators about the Supreme Court’s complex Gingles standard, Ex. A at 1-2, the legislators request

that the Court stay or limit any depositions of legislators pending the Supreme Court’s decisions in

Merrill v. Milligan, No. 21-1086, and Merrill v. Caster, No. 21-1087. Even though these cases will not be

stayed altogether pending Merrill, the more specific question remains: should depositions of legislators

in particular be permitted pending Merrill? It would be unusual to depose a legislator about Gingles in

the ordinary case given that expert witnesses are typically deployed for such a task.4 It is all the more

unusual to depose a legislator about Gingles now given that the Supreme Court is considering when

and how Gingles applies to cases involving single-member districts in a way that is consistent with the

statutorily required showing that districts are “not equally open” based on the “totality of circum-

stances.” 52 U.S.C. §10301(b). Further confirmed by Alabama’s merits brief filed last week, the pen-

dency of Merrill sows further doubt about what possible relevance, if any, legislators’ depositions about

the house districts could serve here. See generally Br. of Secretary Merrill at 42-52, 71-80, Merrill v. Mil-

ligan, No. 21-1086, bit.ly/39nC1Iy (interpreting statutory “totality of circumstances” terminology, ar-

guing for clarification of Gingles, proposing race-neutrality as the §2 benchmark, and arguing in the

alternative that §2 does not apply to single-member districts).




4
    See, e.g., Rose v. Raffensperger, 2022 WL 205674, at *11 (N.D. Ga. Jan. 24, 2022) (discussing use of
    Gingles expert testimony in challenge to statewide election procedure).


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        In short, there is a substantial risk that deposing legislators now will prove itself to have been

completely unnecessary after Merrill. Alternatively, there is substantial risk that deposing legislators

now will not be the last of it, should the Supreme Court clarify §2 in such a way that the United States

demands to depose legislators yet again in light of Merrill. Either way, such depositions would be

premature and unduly burdensome at this time. See, e.g., Whitford v. Vos, 2019 WL 4571109 (7th Cir.

July 11, 2019) (staying deposition of Speaker of Wisconsin Assembly pending Rucho v. Common Cause,

139 S. Ct. 2484 (2019), and then vacating district court’s order compelling deposition in light of Rucho);

see also, e.g., Order, Thomas v. Merrill, 2:21-cv-1531 (N.D. Ala. Mar. 21, 2022), ECF 61 (staying VRA

challenge to state-level districts pending Merrill).

        D. In the alternative, if any depositions are to proceed, the legislators request a protective

order limiting depositions to inquiring about non-privileged information within the public record.

That limitation abides by this Court’s prior ruling. See PI Tr. 152:1-5 (Vol. 5). As discussed throughout

this motion, that ruling is consistent with binding precedent; civil discovery cannot probe the minds

of legislators, their staff, or others acting in a legislative function about their legislative acts. See infra

Part II.B. To the extent the “numerous matters” that the United States would like to discuss would in

fact implicate privileged information, see Ex. A at 7 (4/28/2022 email from D. Freeman), the legislators

request a protective order prohibiting such inquiries. And should the United States pursue such an

inquiry anyway, the legislators request that the protective order confirm that deponents may invoke

privilege and choose not to answer, after which the United States can decide whether to raise its

disagreement about the scope of the privilege in a motion to compel. Accord Perez v. Perry, 2014 WL

106927, *3 (W.D. Tex. Jan. 8, 2014).




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           Relatedly, to the extent those “numerous matters” would include questioning Representative

Guillen about the United States’ allegation that he “switched parties,” Compl. ¶117,5 movants request

a protective order excluding any such questions. In addition to implicating legislative and First Amend-

ment privileges,6 such an inquiry is irrelevant to the United States’ §2 claim. Section 2 is about voting

rights denied or abridged “on account of race,” not politics. 52 U.S.C. §10301(a). Claims fail when the

“animating issue … is partisan, not racial.” LULAC v. Abbott, 369 F. Supp. 3d 768, 786 (W.D. Tex.

2019) (relying upon Whitcomb v. Chavis, 403 U.S. 124 (1971), and LULAC v. Clements, 999 F.2d 831

(5th Cir. 1993)), aff’d, 951 F.3d 311 (5th Cir. 2020). “Section 2 is a balm for racial minorities, not

political ones—even though the two often coincide.” Clements, 999 F.2d at 853-54. It “does not guar-

antee that nominees of the Democratic Party will be elected, even if [minority] voters are likely to

favor that party’s candidates. Rather, §2 is implicated only where Democrats lose because they are

black, not where blacks lose because they are Democrats.” Id.

II.        Legislators cannot be called to testify about legislative acts absent extraordinary
           circumstances.

           In light of Supreme Court precedent and recent decisions by other courts applying that prec-

edent, there is good reason to quash the subpoenas altogether.




5
      Representative Guillen currently represents House District 31, where Latino voters have repeatedly
      elected Representative Guillen as their candidate of choice, by the United States’ own admission.
      Compl. ¶117. The United States’ qualm is that Representative Guillen has “switched parties.” Id.
6
      Such questions chill protected First Amendment conduct. For example, in Perry v. Schwarzenegger,
      591 F.3d 1147 (9th Cir. 2010), the Ninth Circuit issued a writ of mandamus to prohibit subpoenas
      for defendant-intervenors’ internal campaign communications. The Ninth Circuit explained that
      because such discovery could chill the First Amendment right to associate, the information must
      meet “a more demanding standard”—it must be “highly relevant” to the claims, “carefully tailored
      to avoid unnecessary interference with protected activities,” and “otherwise unavailable.” Id. at
      1161; accord In re Motor Fuel Temperature Sales Pracs. Litig., 641 F.3d 470, 481 (10th Cir. 2011) (pro-
      hibiting discovery of lobbying communications). Here, political association should have no rele-
      vance; and even if it could be conceivably relevant, deposing a third-party legislator is a most ex-
      traordinary first step in seeking such discovery.


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        A.      Subpoenas compelling sitting legislators’ testimony should be quashed based
                on legislative immunity and privilege.

        1. State legislators are absolutely immune from civil suit. Tenney, 341 U.S. at 376-77; see Bogan

v. Scott-Harris, 523 U.S. 44, 46 (1998) (“It is well established that federal, state, and regional legislators

are entitled to absolute immunity from civil liability for their legislative activities.”); Sup. Ct. of Va. v.

Consumers Union of the U.S., Inc., 446 U.S. 719, 731-34 (1980) (same). That immunity protects legislators

“not only from the consequences of litigation’s results but also from the burden of defending them-

selves.” Dombrowski, 387 U.S. at 85. It “provides legislators with the breathing room necessary to make

these choices in the public’s interest” and “reinforc[ing] representative democracy” by “allow[ing]

them to focus on their public duties by removing the costs and distractions attending lawsuits” and

“shield[ing] them from political wars of attrition in which their opponents try to defeat them through

litigation rather than at the ballot box.” E.E.O.C. v. Wash. Suburban Sanitary Comm’n, 631 F.3d 174, 181

(4th Cir. 2011). Thus, a state legislator acting within the sphere of legitimate legislative activity may

not be required to testify, “whether or not legislators themselves have been sued.” Hubbard, 803 F.3d

at 1308; see Wash. Suburban Sanitary Comm’n, 631 F.3d at 181 (“Legislative privilege against compulsory

evidentiary process exists to safeguard this legislative immunity and to further encourage the republi-

can values it promotes…. Because litigation’s costs do not fall on named parties alone, this privilege

applies whether or not the legislators themselves have been sued.”).

        Accordingly, courts have deemed state legislators absolutely immune from testifying about

their legislative acts, including in depositions. And redistricting disputes are no exception. See, e.g., Lee,

908 F.3d at 1186-87 (barring depositions of legislative actors in redistricting-related Equal Protection

Clause case); In re Perry, 60 S.W.3d at 860-62 (canvassing state and federal law, explaining that “courts

have affirmed that the doctrine generally shields legislative actors not only from liability, but also from

being called to testify about their legislative activities,” and concluding that it was an abuse of discre-

tion to deny motion to quash depositions of redistricting board members); Marylanders for Fair


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Representation v. Schaefer, 144 F.R.D. 292, 299 (D. Md. 1992) (finding “[w]ithout question” that Maryland

House and Senate were “acting ‘within the sphere of legitimate legislative activity’ in failing to enact

an alternative redistricting plan” such that legislators “deserve all of the protection the Tenney court

extended to them” and “entirely barr[ing]” “any inquiry”); see also, e.g., Bagley v. Blagojevich, 646 F.3d 378,

396-97 (7th Cir. 2011) (finding governor acted in legislative capacity and barring deposition); M Sec.

& Invs., Inc. v. Miami-Dade Cnty., 2001 WL 1685515, at *1-2 (S.D. Fla. Aug. 14, 2001) (quashing depo-

sition subpoena of local legislator in Equal Protection Clause case). Here too, there is no basis for

demanding that third-party legislators bear that burden of defending themselves in such depositions,

see Dombrowski, 387 U.S. at 85, especially when plaintiffs haven’t even attempted to get relevant, non-

privileged discovery through other means, supra.

         2. For the same reasons, legislative privilege, springing from legislative immunity, also counsels

in favor of quashing the subpoenas. “[J]udicial inquiries into legislative or executive motivation repre-

sent a substantial intrusion into the workings of other branches of government” and will be “fre-

quently barred by privilege” except for “extraordinary circumstances.” Arlington Heights, 429 U.S. at

268 & n.18. That privilege applies with “full force” even in cases where legislators’ motives are at the

“factual heart” of plaintiffs’ claims. Hubbard, 803 F.3d at 1310-11.

         Applied here, even if the Court finds that third-party legislators are not altogether immune

from the deposition subpoenas, the subpoenas should be quashed as overly burdensome and for tar-

geting privileged or protected information.7 Any conceivable benefit of deposing the legislators cannot


7
    Counsel for the United States has stated that he does “not intend to delve into matters covered by
    bona fide assertions of legislative privilege,” Ex. A at 4 (5/2/2022 email from D. Freeman), and that
    there are “numerous matters over which any common law state legislative privilege applicable in
    federal courts does not apply,” id. at 7 (4/28/2022 email from D. Freeman). That beggars belief.
    The United States has chosen three legislators to be its first deponents; its complaint challenges
    legislation; and it intends to ask the legislators about that legislation. In all events, the United States’
    most recently filed brief on related privilege issues reveals that its view on “bona fide assertions of
    legislative privilege” is out-of-step with binding Supreme Court precedent, infra Part II.B.


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outweigh the burdens of deposing them See Fed. R. Civ. P. 45(d)(1); Fed. R. Civ. P. 26(c)(1) (court

may “issue an order to protect … [a] person from annoyance, embarrassment, oppression, or undue

burden or expense”); see, e.g., W. Life Ins. v. W. Nat’l Life Ins., 2010 WL 5174366, at *2-4 (W.D. Tex.

Dec. 13, 2010); RE/MAX Int’l, Inc. v. Century 21 Real Estate Corp., 846 F. Supp. 910, 912 (D. Colo.

1994). Any relevant testimony will be privileged or available from other sources, making the deposition

an unduly burdensome exercise poised to harass state legislators.

        B.      There is no bespoke test for legislative privilege in voting rights cases.

        The legislators anticipate that the United States will argue that legislative privilege is so quali-

fied that Voting Rights Act plaintiffs are free to depose sitting state legislators with few, if any, limita-

tions. While federal courts have stated that legislative privilege is qualified in some circumstances,

Jefferson Cmty. Health Care Ctrs Inc. v. Jefferson Par. Gov’t, 849 F.3d 615, 624 (5th Cir. 2017), there is no

basis for whittling the privilege down to nonexistent in redistricting cases.

        The origins for qualifying legislative privilege are the Supreme Court’s decision in United States

v. Gillock, 445 U.S. 360 (1980), and other criminal cases. See, e.g., Rodriguez v. Pataki, 280 F. Supp. 2d

89, 94 (S.D.N.Y. 2003) (relying on application of privilege in criminal case of Trammel v. United States,

445 U.S. 40, 51 (1980)). On its own terms, Gillock qualified legislative immunity and privilege for federal

criminal prosecutions, not civil cases such as this one. 445 U.S. at 474; accord Gravel v. United States, 408

U.S. 606, 627 (1972) (“[W]e cannot carry a judicially fashioned privilege so far as to immunize criminal

conduct proscribed by an Act of Congress or to frustrate the grand jury’s inquiry into whether publica-

tion of these classified documents violated a federal criminal statute.” (emphasis added)); Trammel, 445

U.S. at 51 (qualifying spousal privilege in federal criminal prosecution); In re Grand Jury, 821 F.2d 946,

948 (3d Cir. 1987) (federal criminal grand jury investigation). Gillock itself distinguished criminal cases

from civil cases: “in protecting the independence of state legislators, Tenney and subsequent cases on

official immunity have drawn the line at civil actions.” 445 U.S. at 373 (emphasis added). Whatever



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important federal interests might justify a more qualified privilege in the enforcement of “criminal

statutes,” id., they are absent here in this civil action.

         But already in this litigation, the United States has transported the Supreme Court’s qualifica-

tion of legislative privilege in criminal matters to this civil matter—endorsing a multi-factor balancing

test first deployed by a New York district court in a redistricting dispute. See ECF 227at 10-11 (citing

Rodriguez, 280 F. Supp. 2d 89). To decide whether privilege applies, that test balances “(i) the relevance

of the evidence sought to be protected; (ii) the availability of other evidence; (iii) the ‘seriousness’ of

the litigation and the issues involved; (iv) the role of the government in the litigation; and (v) the

possibility of future timidity by government employees who will be forced to recognize that their

secrets are violable” in deciding whether privilege applies. Id.8 It bears little resemblance to binding

Supreme Court precedent regarding the scope of legislative immunity and privilege in civil cases, and

applying it here to abrogate legislative privilege would be serious error.

         1. As an initial matter, such a balancing test was not initially conceived as basis for deposing a

sitting legislator who is a third-party to litigation. In Rodriguez itself, the court emphasized that plaintiffs

were “not seeking any depositions of legislators or their staffs.” 280 F. Supp. 2d at 96 (emphasis added).

Rodriguez and other cases initially applying it involved document discovery. And even then, the privi-

lege largely held. See, e.g., Comm. for a Fair & Balanced Map v. Ill. State Bd. of Elections, 2011 WL 4837508,

at *10-11 (N.D. Ill. Oct. 12, 2011) (refusing to compel privileged documents “concerning the motives,

objectives, plans, reports and/or procedures used by lawmakers” or “the identities of persons who

participated in decisions regarding the [challenged] Map”); Rodriguez, 280 F. Supp. 2d at 103 (denying


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    Jefferson Community Health Care Centers, 849 F.3d at 624, Veasey v. Perry, 2014 WL 1340077, at *1 n.3
    (S.D. Tex. Apr. 3, 2014), and Perez, 2014 WL 106927 at *2, cited Rodriguez favorably. Jefferson Com-
    munity cited Rodriguez in dictum that privileges are not absolute. Veasey did not involve redistricting.
    Discussed infra, Perez did involve redistricting and applied Rodriguez to conclude that the case did
    not justify “discarding the privilege”—meaning a legislator’s testimony could not be compelled.
    Perez, No. 5:11-cv-360 (W.D. Tex. July 11, 2014), ECF 1138 at 1-2.


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motion to compel privileged documents “to the extent that the plaintiffs seek information concerning

the actual deliberations of the Legislature—or individual legislators—which took place outside [the

citizen-legislator redistricting committee]”); Hall v. Louisiana, 2014 WL 1652791, at *12 (M.D. La. Apr.

23, 2014) (applying Rodriguez but quashing legislator deposition subpoenas). It would be especially

inappropriate to apply Rodriguez in this case to compel the depositions of legislators, when plaintiffs have

already sought substantial document discovery from such legislators and when the United States has

not otherwise explored alternative, less intrusive, less extraordinary discovery.

         2. Lessons learned since last decennial’s Perez v. Perry litigation are also instructive. The court

cited Rodriguez in a dispute over legislative depositions. 2014 WL 106927 at *2.9 The court’s protocol

was to permit deponents to “choose not to answer specific questions, citing the privilege,” after which

plaintiffs could choose to file a motion to compel. Id. at *3. Plaintiffs later filed a motion to compel

one legislator’s testimony, and the court applied Rodriguez as a shield the privileged testimony, not as a

sword to require it. See Perez, No. 5:11-cv-360 (W.D. Tex.), ECF 1138 at 1-2.

         Since Perez, courts have continued to limit legislative discovery, including in redistricting cases.

In Lee, relying on the Supreme Court’s decision in Tenney, the Ninth Circuit affirmed an order barring

depositions of public officials acting in a legislative capacity, even though plaintiffs’ claims were intent-

based claims that race predominated in redistricting. 908 F.3d at 1187. Similarly, the Eleventh Circuit

in Hubbard ordered a district court to quash subpoenas for legislators’ documents relating to the pas-

sage of legislation, even though plaintiffs’ claims were intent-based claims that the legislation was

retaliatory. 803 F.3d at 1302-03, 1315. The Eleventh Circuit stated that privilege applied with “full



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    Initially in Perez, the privilege dispute involved subpoenas for four legislative staff members. Perez,
    No. 5:11-cv-360 (W.D. Tex.), ECF 62 at 2 n.1. Defendants requested a protective order but did
    not ask to quash the depositions. Id. at 7. Opposing any protective order, plaintiffs endorsed Rodri-
    guez’s balancing test, e.g. id., ECF 87 at 6-7, and Defendants’ later motion for reconsideration did
    not challenge the application of Rodriguez, id., ECF 930.


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force against requests for information about the motives for legislative votes and legislative enact-

ments,” even if such information was at the heart of plaintiffs’ claim. Id. at 1310-11. The court refused

to require “the lawmakers to peruse the subpoenaed documents, to specifically designate and describe

which documents were covered by the legislative privilege, or to explain why the privilege applied to

those documents” and ordered that the motion to quash be granted on remand. Id. at 1311, 1315; see

also, e.g., Am. Trucking, 14 F.4th at 89-90 (quashing legislator depositions). More recently in the census

litigation, the Supreme Court refused to permit discovery beyond the administrative record, akin to

the public record here, including refusing plaintiffs’ request to depose the Secretary of Commerce. See

Dep’t of Commerce, 139 S. Ct. at 2573-74; In re Dep’t of Commerce, 139 S. Ct. at 16-17. Finally, even though

intent was at the heart of plaintiffs’ claims in the Gill v. Whitford partisan gerrymandering litigation, the

Seventh Circuit stayed and ultimately vacated an order compelling the deposition of the Speaker of

the Wisconsin Assembly. See Whitford, 2019 WL 4571109 at *1.

        The court in Perez ultimately concluded that redistricting claims were not a basis for ignoring

legislative privilege. Other courts have since refused to permit plaintiffs to depose legislators. Here

too, there is no basis for requiring legislators’ depositions at this time.

        3. Most fundamentally, any bespoke test curtailing legislative privilege in Voting Rights Act

cases is at odds with binding precedent, supra. And to what end? The United States does not allege

that the house redistricting legislation was imbued with any improper purpose. And even if it had, the

Supreme Court has repeatedly held that, as a “principle of constitutional law,” courts cannot “strike

down an otherwise constitutional statute on the basis of an alleged illicit legislative motive.” United

States v. O’Brien, 391 U.S. 367, 383 (1968). That is so even in cases turning on legislative purpose. Id.

at 382-83 (rejecting that three Congressmen’s statements in the legislative history established illicit

congressional purpose). It is a “fundamental principle” that courts may not “void a statute that is,

under well-settled criteria, constitutional on its face, on the basis of what fewer than a handful of



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Congressmen said about it.” Id. at 383-84; see Arizona v. California, 283 U.S. 423, 455 (1931) (“Into the

motives which induced members of Congress to enact the [statute], this court may not inquire.”);

Palmer v. Thompson, 403 U.S. 217, 224 (1971) (“[N]o case in this Court has held that a legislative act

may violate equal protection solely because of the motivations of the men who voted for it.”); Am.

Trucking, 14 F.4th at 90 (quashing depositions and describing “inherent challenges of using [deposi-

tion] evidence of individual lawmakers’ motives to establish that the legislature as a whole enacted

[law] with any particular purpose”). Why? Because the Supreme Court has insisted that courts presume

legislatures act with good intent and afford them a presumption of legislative good faith including in

redistricting disputes. See Miller v. Johnson, 515 U.S. 900, 915 (1995). The same rules apply in Voting

Rights Act cases. Id.; see Abbott v. Perez, 138 S. Ct. 2305, 2324-25 (2018) (presumption “not changed

by a finding of past discrimination”); Brnovich v. Democratic Nat’l Comm., 141 S. Ct. 2321, 2350 (2021)

(legislators are not agents of one another; rather, each has “a duty to exercise their judgment and to

represent their constituents. It is insulting to suggest that they are mere dupes or tools”).

                                              CONCLUSION

          For the foregoing reasons, the legislators respectfully request that the Court stay the deposi-

tions until it resolves this motion. The legislators further request an order quashing or modifying the

subpoenas. In the alternative, movants respectfully request a protective order prohibiting the deposi-

tions from probing the minds of legislators on privileged matters, including matters beyond the public

record.




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Date: May 4, 2022                  Respectfully submitted,

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                                 CERTIFICATE OF CONFERENCE

   I certify that counsel conferred with counsel for the United States regarding the subject of this

motion. Counsel for the United States indicated it opposed any motion to quash or modify the sub-

poena, which confirms opposition to the relief sought here.

                                              /s/ J. Michael Connolly
                                              J. MICHAEL CONNOLLY


                                    CERTIFICATE OF SERVICE

   I certify that a true and accurate copy of the foregoing document was filed electronically (via

CM/ECF) on May 4, 2022, and that all counsel of record were served by CM/ECF.

                                              /s/ J. Michael Connolly
                                              J. MICHAEL CONNOLLY




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